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OAO 247 (02/08) Order Regarding Motion for Sentence Reduction


                                    UNITED STATES DISTRICT COURT
                                                                    for the
                                                        Eastern District of Arkansas

                   United States of America                           )
                              v.                                      )
                                                                      )   Case No: 4:97CR00100-01 GTE
                    IVA JANIECE BONNER
                                                                      )   USM No: 21126-009
Date of Previous Judgment:         November 25, 1998                  )   Jerome Kearney
(Use Date of Last Amended Judgment if Applicable)                     )   Defendant’s Attorney

                   Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)


        Upon motion of X the defendant ’ the Director of the Bureau of Prisons ’ the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion,
IT IS ORDERED that the motion is:
       ’ DENIED. X GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
            the last judgment issued) of 168                months is reduced to Time Served.

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I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
Previous Offense Level:    33                Amended Offense Level:                                             31
Criminal History Category: III               Criminal History Category:                                         III
Previous Guideline Range: 168  to 210 months Amended Guideline Range:                                           135       to 168   months
II. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE

X The reduced sentence is within the amended guideline range.
’ The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the time
  of sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is comparably less than the
  amended guideline range.
’ Other (explain):




III. ADDITIONAL COMMENTS
Except as provided above, all provisions of the judgment dated 11/25/98                      shall remain in effect.
IT IS SO ORDERED.

Order Date:         3/5/08                                                                /s/ Garnett Thomas Eisele
                                                                                                   Judge’s signature


Effective Date: As soon as possible, but not later than                          Garnett Thomas Eisele, U.S. District Judge
                 (if different from order date) 3/19/08                                          Printed name and title
